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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  OCALA DIVISION

 RACHELLE BEAUBRUN, et al.                          CASE NO. 5:19-cv-615-Oc-32PRL
 v.
 UNITED STATES OF AMERICA


 Counsel for Plaintiffs:                       Counsel for Defendant:
 Bryan Busch                                   Adam Smart
 Chris Mills                                   Julie Posteraro
 James DeMiles
 Max Soren
 Philip Reizenstein
 Kellie Peterson

 HONORABLE MARCIA MORALES HOWARD, UNITED STATES DISTRICT JUDGE
 Courtroom Deputy: Jodi L. Wiles Court Reporter: Cindy Packevicz Jarriel


                                    CLERK’S MINUTES


PROCEEDINGS OF: SETTLEMENT CONFERENCE VIA ZOOM

All Plaintiffs in attendance.

Settlement conference conducted.

Supplemental confidential memoranda due by 1:00 p.m. on November 20, 2020.

The second session of the settlement conference is set for November 24, 2020.




Date: November 10, 2020         Time: 10:00 a.m. – 5:25 p.m.   Total: 7 Hours, 25 Minutes
